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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


SILVERGATE PHARMACEUTICALS, INC.,                    )
                                                     )
                      Plaintiff,                     )
                                                     )
      v.                                             )   C.A. No. _______________
                                                     )
AMNEAL PHARMACEUTICALS LLC,                          )
                                                     )
                      Defendant.                     )


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Silvergate Pharmaceuticals, Inc. (“Silvergate”), by and through its attorneys, for

its Complaint against Defendant Amneal Pharmaceuticals LLC (“Amneal”), alleges as follows:

                               THE NATURE OF THE ACTION

       1.      This is an action for patent infringement of United States Patent Nos. 9,669,008

(“the ’008 patent”), 9,808,442 (“the ’442 patent”), 10,039,745 (“the ’745 patent”), and

10,154,987 (“the ’987 patent”) (collectively, the “Patents-in-Suit”) under the patent laws of the

United States, Title 35, United States Code, arising out of the submission by Amneal of

Abbreviated New Drug Application (“ANDA”) No. 212894 to the U.S. Food and Drug

Administration (“FDA”) seeking approval of a generic version of Silvergate’s oral solution

formulation that is the subject of New Drug Application (“NDA”) No. 208686, hereinafter

referred to as Silvergate’s “Epaned® product.” Silvergate seeks all available relief under the

patent laws of the United States, 35 U.S.C. § 100, et seq., and other applicable laws for Amneal’s

infringement of the Patents-in-Suit.
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                                        THE PARTIES

       2.      Silvergate is a corporation organized and existing under the laws of the State of

Delaware, with a principal place of business at 6251 Greenwood Plaza Blvd., Suite 101,

Greenwood Village, CO 80111.

       3.      On information and belief, Amneal is a limited liability company organized and

existing under the laws of the State of Delaware, having a principal place of business at 400

Crossing Boulevard, Third Floor, Bridgewater, New Jersey 08807.

       4.      On information and belief, Amneal is in the business of, among other things,

developing, manufacturing, and selling generic copies of branded pharmaceutical products for

the United States market.

                               JURISDICTION AND VENUE

       5.      This action arises under the patent laws of the United States of America, 35

U.S.C. § 100, et seq. and from Amneal’s submission of ANDA No. 212894 (“Amneal’s

ANDA”).

       6.      This Court has subject matter jurisdiction over the action under 28 U.S.C. §§ 1331

and 1338(a).

       7.      This Court has personal jurisdiction over Amneal because of, among other things,

on information and belief, Amneal’s persistent and continuous contacts with Delaware. Amneal

has purposefully availed itself of the benefits and protections of Delaware’s laws such that it

should reasonably anticipate being haled into court here. On information and belief, Amneal is a

limited liability company formed under the laws of the State Delaware and is registered to do

business in Delaware. On information and belief, Amneal regularly and continuously transacts

business in Delaware, including by selling pharmaceutical products in Delaware. On information




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and belief, Amneal derives substantial revenue from the sale of those products in Delaware and has

availed itself of the privilege of conducting business within Delaware.

        8.      On information and belief, Amneal derives substantial revenue from selling generic

pharmaceutical products throughout the United States, including in Delaware.

        9.      On information and belief, this judicial district is a likely destination of the

product that is the subject of Amneal’s ANDA.

        10.     Venue is proper in this Court under 28 U.S.C. § 1400(b).

                            SILVERGATE’S EPANED® PRODUCT

        11.     Silvergate’s Epaned® product is the only FDA approved and labeled ace inhibitor

treatment that is a ready-to-use oral solution for hypertension in children. Epaned® is also

indicated to treat hypertension in adults, heart failure, and asymptomatic left ventricular

dysfunction.

        12.     Silvergate holds approved NDA No. 208686 for its Epaned® product.

                                        PATENTS-IN-SUIT

        13.     The ’008 patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

David Miles on June 6, 2017. A true and correct copy of the ’008 patent is attached to this

Complaint as Exhibit A.

        14.     The ’008 patent was duly and legally issued to Silvergate as the assignee and

Silvergate owns all rights, title, and interest in the ’008 patent.

        15.     Silvergate’s Epaned® product is covered by at least one claim of the ’008 patent.

        16.     Pursuant to 21 U.S.C. § 355, the ’008 patent is listed in the FDA publication

entitled “Approved Drug Products with Therapeutic Equivalence Evaluations” (“the Orange

Book”) in connection with Silvergate’s Epaned® product.




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        17.     The ’442 patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

David Miles on November 7, 2017. A true and correct copy of the ’442 patent is attached to this

Complaint as Exhibit B.

        18.     The ’442 patent was duly and legally issued to Silvergate as the assignee and

Silvergate owns all rights, title, and interest in the ’442 patent.

        19.     The use of Silvergate’s Epaned® product is covered by at least one claim of the

’442 patent.

        20.     The approved indications for Silvergate’s Epaned® product are covered by at least

one claim of the ’442 patent.

        21.     Pursuant to 21 U.S.C. § 355, the ’442 patent is listed in the Orange Book in

connection with Silvergate’s Epaned® product.

        22.     The ’745 patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

David Miles on August 7, 2018. A true and correct copy of the ’745 patent is attached to this

Complaint as Exhibit C.

        23.     The ’745 patent was duly and legally issued to Silvergate as the assignee and

Silvergate owns all rights, title, and interest in the ’745 patent.

        24.     Silvergate’s Epaned® product is covered by at least one claim of the ’745 patent.

        25.     Pursuant to 21 U.S.C. § 355, the ’745 patent is listed in the Orange Book in

connection with Silvergate’s Epaned® product.

        26.     The ’987 patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

David Miles on December 18, 2018. A true and correct copy of the ’987 patent is attached to

this Complaint as Exhibit D.




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        27.      The ’987 patent was duly and legally issued to Silvergate as the assignee and

Silvergate owns all rights, title, and interest in the ’987 patent.

        28.      The use of Silvergate’s Epaned® product is covered by at least one claim of the

’987 patent.

        29.      The approved indications for Silvergate’s Epaned® product are covered by at least

one claim of the ’987 patent.

        30.      Pursuant to 21 U.S.C. § 355, the ’987 patent is listed in the Orange Book in

connection with Silvergate’s Epaned® product.

                                 INFRINGEMENT BY AMNEAL

        31.      By letter dated February 27, 2019 (“Notice Letter”), Amneal notified Silvergate

that it had submitted ANDA No. 212894 to FDA under Section 505(j)(2)(B) of the Federal Food,

Drug, and Cosmetic Act (“FDCA”) (21 U.S.C. § 355(j)(2)(B) and 21 C.F.R. § 314.95) seeking

approval to engage in the commercial manufacture, use, and sale of a generic version of

Silvergate’s Epaned® product (“the Amneal ANDA Product”) before the expiration of the

Patents-in-Suit.

        32.      On information and belief, Amneal intends to engage in commercial manufacture,

use, and sale of the Amneal ANDA Product promptly upon receiving FDA approval to do so.

        33.      By submitting ANDA No. 212894, Amneal has represented to FDA that the

Amneal ANDA Product has the same active ingredients as Silvergate’s Epaned® product, has the

same route of administration, dosage form, use, and strength as Silvergate’s Epaned® product,

and is bioequivalent to Silvergate’s Epaned® product.

        34.      This action is being filed within forty-five (45) days of Silvergate’s receipt of the

Notice Letter.




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                                    CLAIMS FOR RELIEF

                           Count I—Infringement of the ’008 patent

          35.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

herein.

          36.   Amneal submitted ANDA No. 212894 to FDA under section 505(j) of the FDCA

to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation of the Amneal ANDA Product throughout the United States before the expiration of

the ’008 patent. By submitting the ANDA, Amneal has committed an act of infringement of one

or more claims of the ’008 patent under 35 U.S.C. § 271(e).

          37.   If Amneal’s ANDA is approved by FDA, the commercial manufacture, use, offer

to sell, or sale within the United States, and/or importation into the United States of the Amneal

ANDA Product will constitute acts of infringement of the ’008 patent under 35 U.S.C. § 271(a)-

(c) unless enjoined by the Court.

          38.   On information and belief, Amneal had actual and constructive knowledge of the

’008 patent prior to submitting ANDA No. 212894 and was aware that submission of this ANDA

to FDA constituted an act of infringement of the ’008 patent. In addition, on information and

belief, Amneal had specific intent to infringe the ’008 patent when it filed ANDA No. 212894.

Moreover, there are no substantial non-infringing uses for the Amneal ANDA Product other than

as the pharmaceutical claimed in the ’008 patent.

          39.   The commercial manufacture, use, offer for sale, sale, and/or importation of the

Amneal ANDA Product in violation of Silvergate’s patent rights will cause substantial and

irreparable harm to Silvergate for which damages are inadequate.




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                          Count II—Infringement of the ’442 patent

          40.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

herein.

          41.   Amneal submitted ANDA No. 212894 to FDA under section 505(j) of the FDCA

to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation of the Amneal ANDA Product throughout the United States before the expiration of

the ’442 patent. By submitting the ANDA, Amneal has committed an act of infringement of one

or more claims of the ’442 patent under 35 U.S.C. § 271(e).

          42.   If Amneal’s ANDA is approved by FDA, the commercial use, offer to sell, or sale

within the United States, and/or importation into the United States of the Amneal ANDA Product

will constitute acts of infringement of the ’442 patent under 35 U.S.C. § 271(a)-(c) unless

enjoined by the Court.

          43.   On information and belief, Amneal had actual and constructive knowledge of the

’442 patent prior to submitting ANDA No. 212894 and was aware that submission of this ANDA

to FDA constituted an act of infringement of the ’442 patent. In addition, on information and

belief, Amneal had specific intent to infringe the ’442 patent when it filed ANDA No. 212894.

Moreover, there are no substantial non-infringing uses for the Amneal ANDA Product other than

the methods claimed in the ’442 patent.

          44.   The commercial use, offer for sale, sale, and/or importation of the Amneal ANDA

Product in violation of Silvergate’s patent rights will cause substantial and irreparable harm to

Silvergate for which damages are inadequate.




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                          Count III—Infringement of the ’745 patent

          45.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

herein.

          46.   Amneal submitted ANDA No. 212894 to FDA under section 505(j) of the FDCA

to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation of the Amneal ANDA Product throughout the United States before the expiration of

the ’745 patent. By submitting the ANDA, Amneal has committed an act of infringement of one

or more claims of the ’745 patent under 35 U.S.C. § 271(e).

          47.   If Amneal’s ANDA is approved by FDA, the commercial manufacture, use, offer

to sell, or sale within the United States, and/or importation into the United States of the Amneal

ANDA Product will constitute acts of infringement of the ’745 patent under 35 U.S.C. § 271(a)-

(c) unless enjoined by the Court.

          48.   On information and belief, Amneal had actual and constructive knowledge of the

’745 patent prior to submitting ANDA No. 212894 and was aware that submission of this ANDA

to FDA constituted an act of infringement of the ’745 patent. In addition, on information and

belief, Amneal had specific intent to infringe the ’745 patent when it filed ANDA No. 212894.

Moreover, there are no substantial non-infringing uses for the Amneal ANDA Product other than

as the pharmaceutical claimed in the ’745 patent.

          49.   The commercial manufacture, use, offer for sale, sale, and/or importation of the

Amneal ANDA Product in violation of Silvergate’s patent rights will cause substantial and

irreparable harm to Silvergate for which damages are inadequate.




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                            Count IV—Infringement of the ’987 patent

          50.    Silvergate incorporates each of the preceding paragraphs as if fully set forth

herein.

          51.    Amneal submitted ANDA No. 212894 to FDA under section 505(j) of the FDCA

to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation of the Amneal ANDA Product throughout the United States before the expiration of

the ’987 patent. By submitting the ANDA, Amneal has committed an act of infringement of one

or more claims of the ’987 patent under 35 U.S.C. § 271(e).

          52.    If Amneal’s ANDA is approved by FDA, the commercial use, offer to sell, or sale

within the United States, and/or importation into the United States of the Amneal ANDA Product

will constitute acts of infringement of the ’987 patent under 35 U.S.C. § 271(a)-(c) unless

enjoined by the Court.

          53.    On information and belief, Amneal had actual and constructive knowledge of the

’987 patent prior to submitting ANDA No. 212894 and was aware that submission of this ANDA

to FDA constituted an act of infringement of the ’987 patent. In addition, on information and

belief, Amneal had specific intent to infringe the ’987 patent when it filed ANDA No. 212894.

Moreover, there are no substantial non-infringing uses for the Amneal ANDA Product other than

the methods claimed in the ’987 patent.

          54.    The commercial use, offer for sale, sale, and/or importation of the Amneal ANDA

Product in violation of Silvergate’s patent rights will cause substantial and irreparable harm to

Silvergate for which damages are inadequate.

                                           Prayer for Relief

          Silvergate respectfully requests the following relief:




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          a)   A judgment that Amneal has infringed the ’008 patent, the ’442 patent, the ’745

patent, and the ’987 patent under 35 U.S.C. § 271(e)(2)(A) by submitting ANDA No. 212894

under Section 505(j) of the FDCA, and that Amneal’s making, using, offering to sell, or selling

in the United States or importing into the United States of the Amneal ANDA Product will

infringe one or more claims of the ’008 patent, the ’442 patent, the’745 patent, and the’987

patent;

          b)   A finding that the ’008 patent, the ’442 patent, the ’745 patent, and the ’987

patent are valid and enforceable;

          c)   An order under 35 U.S.C. § 271(e)(4)(A) that the effective date of any FDA

approval of ANDA No. 212894 shall be a date which is not earlier than the latest expiration date

of the ’008 patent, the ’442 patent, the ’745 patent, and the ’987 patent, as extended by any

applicable periods of exclusivity;

          d)   An order under 35 U.S.C. § 27l(e)(4)(B) permanently enjoining Amneal, its

subsidiaries, parents, officers, agents, servants, employees, licensees, representatives, and

attorneys, and all other persons acting or attempting to act in active concert or participation with

it or acting on its behalf, from engaging in the commercial manufacture use, offer to sell, or

importation into the United States, of any drug product the use of which is covered by the ’008

patent, the ’442 patent, the ’745 patent, and the ’987 patent, including the Amneal ANDA

Product;

          e)   A finding that this is an exceptional case under 35 U.S.C. § 285, and that

Silvergate be awarded reasonable attorneys’ fees and costs; and

          f)   An award of any such other and further relief as the Court may deem just and

proper.




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                                               MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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